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                   NTHEUNITEDSTATESDISTRICTCOURTFORv                                  C   J
                               WESTERN DISTRICT OF TEXAS
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                                 SANANTONIO DIVISION                                               COUR1
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ANToNIo SILOT                                §
PLAINTIFF,                                   §                                        1T      rE
                                             §
 v.                                          §        CIVIL ACTION NO.   SA-17-CV-00177-XR
                                             §
CALVIN ANDERSON AND DovE                     §
EQUIPMENT, LLC,                              §
DEFENDANTS.                                  §

                               AGREED FINAL JUDGMENT

       On this day came on to be considered the captioned cause, and all of the parties having

announced in writing through a joint motion that all matters in controversy have been

compromised and settled by agreement, and that such agreement was to the effect that Plaintiff,

ANTONIO SILOT, take nothing against Defendants, CALViN ANDERSON and DOVE

EQUPMENT, LLC, and that each partyis to bear its own costs of court

      It is, therefore, ORDERED, ADJUDGED and DECREED by the Court that Plaintiff,

ANTONIO SILOT, take nothing against Defendants, CALViN ANDERSON and DOVE

EQUIPMENT, LLC. Court costs are HEREBY assessed against the party incurring same.

      This judgment disposes of all parties and claims and is final and appealable.

SIGNEDthis      ' day of                     ,2017.




                                                   XAVIER RODRIGUEZ
                                                   UNITED STATES DISTRICT JUDGE
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